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 5
   ATTORNEY FOR DEFENDANT
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 7
                               IN THE UNITED STATES DISTRICT COURT
 8
                                   FOR THE DISTRICT OF COLUMBIA
 9
10 UNITED STATES OF AMERICA,                           )   Case No.: 19-148-1 (CKK)
                                                       )
11                        Plaintiffs,                  )   DEFENSE COUNSEL RESPONSE TO
                                                       )   COURT’S MINUTE ORDER RE SHARING
12                                                     )   INFORMATION WITH MEDIA.
                                                       )
13 vs.                                                 )
                                                       )
14                                                     )
                                                       )
15 PRAKAZREL MICHEL, ET AL.                            )
                                                       )
16                                                     )
                         Defendants.                   )
17                                                     )   The Honorable Colleen Kollar-Kotelly
     __________________________________                )
18

19
            Defense Counsel hereby files this response to the Court’s Minute Order from March 3, 2023
20
     related to whether information was shared with the media.
21

22          Defense Counsel has responded to some questions asked by the authors of a recent

23 Bloomberg article. Those responses were given prior to the time Counsel read the article.

24          In furtherance of the Defense investigation into the facts of the case, we have shared some
25
     limited information only after the Protective Order was signed or acknowledged. In those limited
26
     instances, the recipient of any information has acknowledged to be bound by the terms of the
27
     Protective Order.
28
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                         DEFENDANT’S COUNSEL’S RESPONSE TO COURT’S MINUTE ORDER
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 1          The authors of that article have been conducting their own investigation for some time into

 2 areas covered by the Protective Order. In order to access their information to further the Defense

 3 investigation, they were acting as agents of the Defense as set forth in the Protective Order.

 4
            Counsel is unaware of the sources used by the authors of that article.
 5
            Counsel submits that any other information would be subject to the attorney-client or
 6
     attorney work-product privilege.
 7

 8

 9 DATED: March 3, 2023                           Respectfully submitted,

10                                                         /s/ David Kenner
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15

16
                                                           /s/ Charles Haskell
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21                                                         Retained Counsel for the Defendant
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                      DEFENDANT’S COUNSEL’S RESPONSE TO COURT’S MINUTE ORDER
         Case 1:19-cr-00148-CKK Document 205 Filed 03/03/23 Page 3 of 3




 1                                CERTIFICATE OF SERVICE
 2         I declare under penalty of perjury that the foregoing is true and correct this 3rd day of
 3 March 2023, at Washington D.C., and that this document is executed under penalty of

 4 perjury according to the laws of the United States of America.

 5
                                                        ____________________
 6
                                                        Charles R. Haskell
 7                                                      Attorney at Law

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                    DEFENDANT’S COUNSEL’S RESPONSE TO COURT’S MINUTE ORDER
